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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

                             JUDGE PHILIP A. BRIMMER

                                COURTROOM MINUTES


Courtroom Deputy: Kathy Preuitt-Parks      Date: January 8, 2010
Court Reporter: Kara Spitler               Time: 18 minutes



CASE NO. 09-cv-02912-PAB

Parties                                    Counsel

PEOPLE OF THE STATE OF
COLORADO,


                   Plaintiff (s),

vs.

ROBERT RODARTE,                            Warren Williamson
FRANKIE SALAZAR,                           Patricia Behan
JOSE SALAZAR,                              Victoria Ringler
JAMES CISNEROS,

                   Defendant (s),
and

ROBERT GOFFI, Special Agent of the         Amy Padden
FBI,

                   Interested Party,




                                STATUS CONFERENCE


3:36 p.m.   COURT IN SESSION
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APPEARANCES OF COUNSEL. Ms. Ringler appears by telephone. Defendants’
appearances have been waived.

Court advised that the defendants have requested court appointed counsel for these
proceedings and those requests have been granted but counsel has not been appointed
yet except for Mr. Williamson who has been appointed to represent Robert Rodarte.

ORDERED: Motion to Withdraw as to defendant Frankie Salazar (Doc #35), filed
         1/6/10 is GRANTED.

Court addresses Mr. Williamson’s Notice of Possible Conflict of Interest as to defendant
Robert Rodarte (Doc #37), filed 1/7/10.

Ms. Padden updates the Court as to the status of her request for the state court
records, indicating that they have been requested and hopefully the pre-pay issue will
be resolved next week and receipt of the documents shortly thereafter.

ORDERED: Robert Goffi shall file any motions that are appropriated concerning the
         issue of removal by January 15, 2010.

ORDERED: Further status conference set for January 21, 2010 at 1:00 p.m.

3:54 p.m. COURT IN RECESS

Total in court time:       18 minutes

Hearing concluded
